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  Attorneys for Defendants

                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

  ZACHARY SZYMAKOWSKI, an individual,
  and JOHANNA A. URIBE, on behalf of FELIPE
  A. URIBE, a minor, on behalf of themselves and
  a proposed class of allegedly similarly situated F-
  1 students,                                            STIPULATED MOTION TO EXTEND
                                                          TIME FOR DEFENDANTS TO FILE
                 Plaintiffs,                              REPLY SUPPORTING MOTION TO
         vs.                                                        DISMISS
  UTAH HIGH SCHOOL ACTIVITIES
  ASSOCIATION, INC., a Utah nonprofit
  corporation; ROBERT CUFF, an individual;
  MARILYN RICHARDS, an individual; AMBER
  SHILL, an individual; BURKE STAHELI, an
  individual; DAVID WARREN, an individual;
  DAVID LUND, an individual; ZACK MCKEE,
  an individual; PAUL SWEAT, an individual;
  LUKE RASMUSSEN, an individual; JERRE
  HOLMES, an individual; JASON SMITH, an                    Case No.: 2:24-cv-00751
  individual; MIKE MEES, an individual; DEVIN               Judge Robert J. Shelby
  SMITH, an individual; BRYAN DURST, an                     Magistrate Judge Cecilia M. Romero
  individual; and BRENT STRATE, an individual,
                 Defendants.



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        Defendants Utah High School Activities Association, Inc. (“UHSAA”), Robert Cuff,

 Marilyn Richards, Amber Shill, Burke Staheli, David Warren, David Lund, Zack Mckee, Paul

 Sweat, Luke Rasmussen, Jerre Holmes, Jason Smith, Mike Mees, Devin Smith, Bryan Durst, and

 Brent Strate (collectively, “Defendants”) and Plaintiffs Zachary Szymakowski and Johanna Uribe

 (on behalf of Felipe Uribe) (collectively, “Plaintiffs”) stipulate to extend the deadline for

 Defendants to file their Reply Memorandum Supporting Motion to Dismiss (“Reply”) (replying in

 support of their Motion to Dismiss Individual Defendants (ECF No. 102) and responding to

 arguments raised in Plaintiffs’ Opposition to Motion to Dismiss Individual Defendants (ECF No.

 115)). Defendants and Plaintiffs jointly move the Court for entry of an order extending the deadline

 for Defendants to file their Reply from January 6, 2025, to January 13, 2025. A proposed order

 granting such relief is submitted herewith.

        Good cause exists for granting the stipulated requested extension. The time for drafting the

 Reply falls squarely over major holidays, and attorneys and client contacts that would be

 instrumental in preparing the Reply are out of town or otherwise unavailable to dedicate time to

 the Reply until early January. The time to file the Reply has not yet expired.

        DATED: December 30, 2024




                                                      PARR BROWN GEE & LOVELESS
                                                      D. Craig Parry
                                                      Chaunceton Bird
                                                      Daniel J. Nelson

                                                      Mark O. Van Wagoner

                                                      Attorneys for Defendants



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       DATED: December 30, 2024



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                                          FOLEY & LARDNER
                                          David J. Jordan
                                          Wesley F. Harward
                                          Tanner B. Camp
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                                          *Electronically signed by proxy by
                                          Chaunceton Bird per emailed permission from
                                          Tanner Camp.




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